I.                         Case 6:13-cv-00237-WSS Document 2 Filed 08/01/13 Page 1 of 4

A0 440 (Rev.   12/09)   Summons in   a Civil Action



                                          UNITED STATES DISTRICT COURT
                                                                      for the




                          E. Matthew Burch
                                                                        )

                                                                        )
                                Plaintiff
                                                                        )

                                                                        )       Civil Action No.
                                     V.

                         Camber Corporation                             )
                                                                                                   '1113CA237
                                                                        )

                                                                        )
                               Defendant


                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Camber Corporation
                                             by serving its Registered Agent,
                                             Corporation Sevice Company
                                             211 E. 7th Street, Suite 620
                                             Austin, Texas 78701



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                             R. John Cullar
                                             Cullar & McLeod, LLP
                                             Baylor Tower
                                             801 Washington Avenue, Suite 500
                                             Waco, Texas 76701

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COUR1LLlr1v'
                                                                                                                i,tA( PUThIC
                                                                                                                   '._




Date:          AUG * 1        21U3
                                                                                                   ;req/Clerk   ocClerk
                            Case 6:13-cv-00237-WSS Document 2 Filed 08/01/13 Page 2 of 4

AO 440   (Rev. 12/09)   Summons   in   a Civil Action (Page 2)


Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

            This summons for (name of individual and title, ifany)
was received by me on (date)

            E1   I personally served the summons on the individual at (place)

                                                                                                On (date)                        ;   or

                 I left the summons at the individual's residence or usual place                  of abode with (name)
                                                                              a person of suitable age and discretion who resides there,
           On (date)                                       ,   and mailed a copy to the individual's last known address; or

           EJ I   served the summons on                (name of individual)                                                                      who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                                on (date)                        ;   or

           11    I returned the summons unexecuted because                                                                                         ;   or

           E1    Other (spec(fij):




           My fees are $                                  for travel and $                       for services, for a total of$            0.00


           I declare under penalty             of perjury that this information is true.


Date:
                                                                                                      Server 's signature



                                                                                                    Printed name and title




                                                                                                      Server 's address

Additional information regarding attempted service, etc:
                                Case 6:13-cv-00237-WSS Document 2 Filed 08/01/13 Page 3 of 4

AO 440 (Rev.   12/09)   Summons   in   a Civil Action



                                             UNITED STATES DISTRICT COURT
                                                                        for the



                            E. Matthew Burch
                                                                           )


                                  Plaintiff

                                                                                  Civil Action No.
                                       V.

                        Camber Corporation                                                             1   3     CA       23 7
                                 Defendant


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                                               Corporation Sevice Company
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P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                               R. John Cullar
                                               Cullar & McLeod, LLP
                                               Baylor Tower
                                               801 Washington Avenue, Suite 500
                                               Waco, Texas 76701

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                                            WILLIAM 0. PUTNICKI
                                                                                     GLERK OF COURT


Date:      'AUG         $   I   2O3
                                                                                               Signature of Clerk or epuly Clerk
                            Case 6:13-cv-00237-WSS Document 2 Filed 08/01/13 Page 4 of 4

AO 440 (Rev.   12/09)   Summons   in a Civil   Action (Page 2)


 Civil Action No.

                                                        PROOF OF SERVICE
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          This summons for (name of individual and title,                   fany)
was received by me on (date)

          1J I    personally served the summons on the individual at (place)
                                                                                               On (date)                         ;   or

          11    I left the summons at the individual's residence or usual place of abode with (name)
                                                                            ,a person of suitable age and discretion who resides there,
          On (date)                                        ,   and mailed a copy to the individual's last known address; or

          El I    served the summons on                (name     ofindividual)                                                                   who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                               On (date)                             or

          El I    returned the summons unexecuted because                                                                                           or

          El    Other (specify):




          My fees are $                                   for travel and $                      for services, for a total of$             0.00


          I declare under penalty               of perjury that this information is true.


Date:
                                                                                                     Server's signature



                                                                                                   Printed name and title




                                                                                                      Server 's address

Additional information regarding attempted service, etc:
